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                         Exhibit A
3/27/2020                                                             Gmail - Palm house hotel
paymun zargar <paymunzargar@gmail.com>
Palm house hotel
5 messages
Paymun <paymunzargar@gmail.com>                                                                            Mon, Feb 12, 2018 at 3:38 PM
To: smwest2@fbi.gov
Dear Mr. West,
I am writing to you on behalf of the Iranian and Turkish victims of the fraud perpetrated primarily by the owners of South
Atlantic Regional Center and Palm House Project. I was hoping that I can make an appointment with you some time soon
to discuss some concerns about various aspects of this case and how things are moving. We think that you may be able
to shed some light on our concerns and questions.
Please let me know if a phone conversation or an in-person meeting is feasible in near future.
Best,
———




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Paymun Zargar
PhD Candidate.
Department of Philosophy
Northwestern University
paymun zargar <paymunzargar@gmail.com>                                                                      Thu, Feb 15, 2018 at 5:47 PM
To: smwest2@fbi.gov
Dear Mr. West,
I was asked to reach out to you by the Iranian and Turkish victims of Palm House fraud with the purpose of conveying
certain ongoing concerns about not only the defendants of their federal lawsuit, but also the counsel representing them in
that lawsuit, which includes David George. We were very surprised to learn that you found it more appropriate to contact
David George and let him know that we tried to reach out to you. I have been in contact with both FDLE and SEC through
both in-person meetings and text/phone/email correspondence all of which have been maintained confidential for, I think,
self-evident reasons. So I would like to urge you to not disclose my correspondence (including this one), and the worries
that I will share (if and when I have the pleasure to speak to you), with you to David George or anyone else outside the
federal government.
I look forward to your response, and thanks for your understanding.
Regards,
--------
Paymun Zargar
PhD Candidate.
Department of Philosophy
Northwestern University
Phone: (408) 332-3306
[Quoted text hidden]
West, Stephen M. (NH) (FBI) <smwest2@fbi.gov>                                                                Fri, Feb 16, 2018 at 8:37 AM
To: paymun zargar <paymunzargar@gmail.com>
Mr. Zargar,
https://mail.google.com/mail/u/0?ik=f7806846a3&view=pt&search=all&permthid=thread-f%3A1592232782425329370&simpl=msg-f%3A1592232782425329370&…   1/3
3/27/2020                                                             Gmail - Palm house hotel
I reached out to attorney George because he is the attorney on record for the victims. Therefore, as a law
enforcement of_cer, I am required not to contact parties who are represented parties by legal counsel
without at least notifying the attorney.
Given that you are a Phd Candidate at Northwestern University, I have arranged for someone from our
Chicago Field Of_ce to meet with you for the purpose of an interview. They should be in contact with you
soon. If you are not currently residing in the Chicago area, please advise of your current location so that I
cannot coordinate with the appropriate Field Of_ce.
Thank you.
[Quoted text hidden]
Paymun <paymunzargar@gmail.com>                                                                             Fri, Feb 16, 2018 at 11:13 AM
To: "West, Stephen M. (NH) (FBI)" <smwest2@fbi.gov>
Mr. West,
Thank you for your response. I do reside in Chicago area and I am looking forward to meet with your Chicago Field Of_ce.




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I appreciate your hard work to bring these criminals to justice, and I will cooperate in any way possible to hopefully effect
some positive outcome.
Regards,
———
Paymun Zargar
PhD Candidate.
Department of Philosophy
Northwestern University
[Quoted text hidden]
Paymun <paymunzargar@gmail.com>                                                                             Tue, Feb 20, 2018 at 5:52 PM
To: "West, Stephen M. (NH) (FBI)" <smwest2@fbi.gov>
Dear Mr. West,
The representative of the Chinese victims, Jennifer Feng, is in the US until Feb 23rd, and she also expressed strong
interest in meeting with your Field Office in Chicago, if the meeting could be arranged before Feb 23rd. She also has
provable information about victims of SARC’s other projects who recently received their NOID from the USCIS. Again we
wish not to disclose the purpose and content of our meeting with the FBI to David George since we both share a similar
concern about him that we would like to share with you.
Please advise,
Regards,
———
Paymun Zargar
PhD Candidate.
Department of Philosophy
Northwestern University
[Quoted text hidden]
https://mail.google.com/mail/u/0?ik=f7806846a3&view=pt&search=all&permthid=thread-f%3A1592232782425329370&simpl=msg-f%3A1592232782425329370&…   2/3
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https://mail.google.com/mail/u/0?ik=f7806846a3 & view =pt&search=all &permthid=thread-f%3 A 1592232782425329370&simpl=msg-f%3 A 1592232782425329370&... 3/3
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